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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 CASE NUMBER:       11-68628-BEM                        TRUSTEE:      S. GREGORY
                                                                      HAYS

 CASE NAME:         WAYNE BREWSTER                      341 DATE:     06/13/2017
                    MARLENE BREWSTER                    RESET         07/11/2017
                                                        DATES:        08/01/17
                                                                      08/22/17
                                                                      09/19/17
                                                                      10/10/17
                                                                      11/07/17




 JUDGE:             BARBARA ELLIS-MONRO                 TIME:         08:30 AM
                                                        RESET TIME:   11:00 AM on all



                                        APPEARANCES

                                          PRESENT                     ABSENT
 DEBTOR 1:
 Wayne Brewster

 DEBTOR 2:
 Marlene Brewster

 DEBTOR’S ATTORNEY:
 Sweta Patel
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                                             RESULTS OF MEETING

    Failure of co-debtor to appear to the first through seven 341 Meeting of Creditors.




  REQUEST TO DISMISS CASE FOR FAILURE TO APPEAR FOR ALL CONTINUED 341 MEETINGS

The undersigned certifies under penalty of perjury that the co-Debtor has failed seven times to appear at the Section 341 Meeting
and recommends that a dismissal order be entered against:
                                                             Debtor              Spouse
Check appropriate box(es):

DATED: July 27, 2018                                                 /s/ S. Gregory Hays
                                                                     S. GREGORY HAYS, CHAPTER 7 TRUSTEE
